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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


       IN RE: ZANTAC                                                     MDL DOCKET NO. 2924
       (RANITIDINE)
       PRODUCTS LIABILITY                                            Civil Action No. 9:20-md-2924
       LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART



   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER #35
                      Order Regarding Core Discovery of Retailer Defendants

           Since the Initial Status Conference and pursuant to PTO #16, Plaintiffs’ Co-Leads and

   Retailer Liaison Counsel advise that they have met and conferred on multiple occasions concerning

   which categories of documents the Retailer Defendants could reasonably produce in the near term.

   The parties’ communicated goal for these discussions was to prioritize discovery to move the case

   forward in a manner consistent with prior Orders entered by this Court, including the Census

   Registry outlined in PTO #15. The parties have now informed the Court that they have reached

   agreement on discovery deadlines, the scope of discovery presently contemplated, and the

   intention to defer any additional formal discovery until after this Court’s first ruling on a Rule 12

   Motion to Dismiss by the Retailer Defendants (or January 1, 2021, if this Court’s Order has not

   yet issued by that date). The agreement negotiated between the Retailer Liaison and the Plaintiffs’

   Co-Leads is memorialized in the “Core Discovery Agreement – Retailer Defendants”, hereafter

   referred to as the “Core Discovery Agreement.” The terms of this PTO, like PTO # 34, offer all

   Retailer Defendants the opportunity to participate in the Core Discovery Agreement.1


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         For the sake of clarity, the Court notes that this Order sets forth the Core Discovery
   Agreement between Plaintiffs and the Retailer Defendants. At the last Status Conference, the
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          The Court recognizes that numerous additional Retailer Defendants have been added as

   parties to this MDL in recent weeks. Pursuant to the terms of the Core Discovery Agreement, any

   Retailer Defendant that has agreed to tolling pursuant to PTO #15 and 27 may elect to participate

   in the Core Discovery Agreement. A copy of the Core Discovery Agreement shall be provided to

   all Retailer Defendants by their Liaison Counsel. While the Court recognizes that adoption of the

   tolling provision in PTO No. #15 is subject to individual Retailer Defendant’s decision, the Court

   encourages all present and future Retailer Defendants to adopt the Core Discovery Agreement and

   to work collaboratively with Plaintiffs through the meet and confer process to accomplish

   document production consistent with the Core Discovery Agreement without the necessity of

   formal discovery requests.

          Any Retailer Defendant that has entered a Notice of Appearance (“Existing Defendant”)

   shall have 10 days from the date of this Order to notify Plaintiffs’ Co-Lead counsel, Retailer

   Liaison Counsel, and the Special Master, by email, of its desire to be bound by the Core Discovery

   Agreement.

          If a Retailer Defendant does not agree to be bound by the tolling provisions of PTO #15 or

   does not agree to be bound by the Core Discovery Agreement within the specified election period,




   parties represented to the Court that a proposed PTO would be provided in the coming weeks,
   setting forth the additional information required from each type of defendant with respect to
   product identification and other information helpful to the Registry (the “Registry PTO”). (As an
   example, the parties indicated that the Registry PTO might request the dates of production and sale
   for each ANDA by each of the generic manufacturers, as contrasted with the production of the
   ANDAs under the generic manufacturers’ core discovery agreement.) Given the timing of this
   PTO, to avoid any confusion, the Court notes that this Order is not the Registry PTO, but instead
   merely the analog to PTO # 34 as to Retailer Defendants’ core discovery obligations. As with
   PTO # 34, this Order does not bind non-parties to the Retailer Defendants’ Core Discovery
   Agreement, nor does it supersede the forthcoming Registry PTO.

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   discovery as to that Retailer Defendant may immediately commence consistent with Federal Rule

   of Civil Procedure 26 and the prior orders issued in this MDL.

           For any Retailer Defendant that has not yet entered a Notice of Appearance (“New

   Defendants”), the defendant shall provide its election on both tolling and the Core Discovery

   Agreement within 21 days of service (as set forth in PTO #27), unless this is less than 10 days

   from the date of this Order, in which case the defendant shall have the full 10 days to make the

   discovery election (the Notice of Appearance and tolling election shall still be due within 21 days

   of service).

           The Special Master shall be included in the meet and confer process to the extent possible.

   The Special Master shall have the authorization to extend any deadline with respect to tolling or

   this Order for only a limited period and only with consent of counsel, in order to facilitate the meet

   and confer process.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 27th day of July,

   2020.




                                                  ROBIN L. ROSENBERG
                                                  UNITED STATES DISTRICT JUDGE




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